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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

ANNIE L. NORMAN,                     )
                                     )
      Plaintiff,                     )
                                     )
vs.                                  ) CIVIL ACTION NO. 04-00247-P-B
                                     )
JO ANNE B. BARNHART,                 )
Commissioner of                      )
Social Security,                     )
                                     )
      Defendant.                     )

                       REPORT AND RECOMMENDATION

      Plaintiff brings this action under 42 U.S.C. §§ 405(g) and

1383(c)(3) seeking judicial review of a final decision of the

Commissioner of Social Security denying her claim for a period

of disability, disability insurance benefits and supplemental

security income benefits.         This action was referred to the

undersigned for report and recommendation pursuant to 28 U.S.C.

§ 636(b)(1)(B).      The parties waived oral argument.        Upon careful

consideration of the administrative record and the parties’

arguments    as    raised   in   their   memoranda,     the   undersigned

respectfully recommends that the decision of the Commissioner be

AFFIRMED.

I.    Procedural History

      Plaintiff, Annie L. Norman (“Plaintiff”), protectively filed

applications for disability insurance benefits and supplemental

security income benefits on January 28, 2002, alleging that she
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has   been     disabled     since     January     24,    2002     due    to    diabetes

mellitus, hypertension, a heart problem and breast cancer.                          (Tr.

48-51, 55, 68, 84, 277, 282-285).                Plaintiff’s applications were

denied on June 26, 2002, and she filed a Request for Hearing on

July 31, 2002.1       (Id. at 35-36, 42, 286-287).              Administrative Law

Judge (“ALJ”) R.G. Goosens conducted a hearing on November 12,

2002, which was attended by Plaintiff and her representative.2

(Id. at 293-306).          On December 6, 2002, ALJ Goosens entered a

decision      wherein      he   found     that     Plaintiff      has    the      severe

impairments of diabetes mellitus and status post cellulitis

versus lymphedema following ductal carcinoma lumpectomy of the

right breast,3 and that she is capable of performing her past

relevant work as a car parts worker.                        (Id. at 15-27).           On

February 21, 2004, Plaintiff’s request for review was denied by

the Appeals Council thereby making the ALJ’s decision the final

decision of the Commissioner of Social Security.                        (Id. at 4-6).

The parties agree that this case is now ripe for review and is



      1
        The reconsideration stage was eliminated from this case pursuant to
testing modifications to the disability determination procedures. 20 C.F.R.
§§ 404.906, 416.1406.

      2
        Plaintiff’s representative at the administrative hearing was a non-
lawyer who indicated that she had previously appeared at administrative
hearings on behalf of other claimants. (Tr. 295-296).

      3
        The ALJ also considered hypertension, a heart problem and depression as
possible severe impairments, but concluded that these did not result in any
significant work-related limitations. (Tr. 26).


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properly before this Court pursuant to 42 U.S.C. §§ 405(g) and

1383(c)(3).

II.   Background Facts

      Plaintiff was born March 17, 1953 and was forty-nine years

old at the time of the administrative hearing on November 12,

2002.    (Tr. 297).    Plaintiff has a 12th grade education and past

relevant work experience as a car parts worker, janitor and

cook.   (Id. at 56, 61, 69-72, 297).         Plaintiff reported that she

became unable to work on January 24, 2002 due to diabetes

mellitus, hypertension, a heart problem and breast cancer.                (Id.

at 48-51, 55, 68, 84, 245, 277, 282-285).             Plaintiff testified

that she stopped working because of arm irritation and because

she   could   no   longer   meet   the    lifting   requirements    for    the

position. (Id. at 298).            Plaintiff added that she could no

longer use her right arm due to pain and swelling, and that she

kept her arm bandaged.         (Id. at 298-299, 302-304).          Plaintiff

testified that she is undergoing physical therapy for right arm

problems, that she has difficulty lifting, bending and closing

her fingers, and that she uses her left arm as much as possible.

(Id. at 55, 68, 298, 301-304).           Plaintiff testified that she is

not taking prescribed medication for her alleged arm impairment.

(Tr. 299).

      Additionally, Plaintiff testified that as a result of her


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diabetes, she suffers from weakness, dizziness, an inability to

stand for long periods of time, and burning sensations in her

feet.      (Id. at 299).     Plaintiff further reported that due to her

heart      condition,    she    experiences      shortness       of   breath      while

walking and is unable to do much lifting or walking.                            (Id. at

68).       Plaintiff also reported that she suffers from swelling in

her legs.        (Id. at 97).

       With respect to her household tasks, Plaintiff reported that

due to her pain, she does very little walking, cooking, driving

or household chores; however, she is able to care for most of

her personal needs without assistance,4 shop for groceries once

a week, do laundry once a week, and sweep her house once a week.

(Id. at 78-85, 88-90).             Plaintiff reported that she watches

television, reads, sits on the porch, walks, rides the bus, goes

to church, visits family and friends once or twice a month,

occasionally goes to cookouts with family, and talks to friends

on the telephone daily.           (Id. at 80-81, 89-90, 248).              Plaintiff

testified that her daily activities include preparing breakfast,

walking outside around the house and attempting to sweep a

little with her left arm.             (Tr. 302-303).          Plaintiff reported

that she can only stand for 30 minutes, walk for 20 minutes and


       4
        Plaintiff indicated that she has difficulty bathing and combing her
hair because of pain in her arm, shoulder, legs and feet. (Tr. 79, 81-82, 88-
89, 248).


                                           4
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sit for 45 minutes, at a time.                  (Id. at 78).

      The ALJ determined that Plaintiff has the severe impairments

of    diabetes       mellitus      and     status     post     cellulitis         versus

lymphedema following ductal carcinoma lumpectomy of the right

breast, that Plaintiff retained the residual functional capacity

to perform light work and that she could perform her past

relevant work as a car parts worker.                  (Id. at 21-27).

III. Issues on Appeal5

      A.      Whether the ALJ erred in the weight afforded                           the
              opinions of Plaintiff’s treating physician?

      B.      Whether the ALJ erred in discounting                       Plaintiff’s
              subjective complaints of pain?

      C.      Whether the ALJ erred in failing to make findings
              regarding the physical demands of Plaintiff’s past
              relevant work?

      D.      Whether this case should be remanded for consideration
              of new evidence?

IV.   Analysis

      A.      Standard of Review

      In reviewing claims brought under the Act, this Court’s role

is    a    limited      one.      This     Court’s      review     is    limited      to

determining:       1)    whether     the    decision      of    the     Secretary     is



      5
        Plaintiff filed a Motion for Remand seeking to have this case remanded,
pursuant to sentence six of § 205(g), for consideration of new evidence.
Although Plaintiff has not listed the new evidence as an issue in this case,
the undersigned has included the new evidence as a issue for consideration
since the Motion is still pending before the Court.


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supported by substantial evidence, and 2) whether the correct

legal standards were applied.                    Martin v. Sullivan, 894 F.2d

1520, 1529 (11th Cir. 1990).6             A court may not decide the facts

anew, reweigh the evidence, or substitute its judgment for that

of the Commissioner.          Sewell v. Bowen, 792 F.2d 1065, 1067 (11th

Cir.       1986).     The   Commissioner’s          findings      of     fact   must   be

affirmed if they are based upon substantial evidence.                           Brown v.

Sullivan, 921 F.2d 1233, 1235 (11 th Cir. 1991); Bloodsworth v.

Heckler,       703   F.2d   1233,    1239       (11th    Cir.    1983)(holding      that

substantial evidence is defined as “more than a scintilla but

less than a preponderance,” and consists of “such                               relevant

evidence as a reasonable person would accept as adequate to

support a conclusion[]”).              In determining whether substantial

evidence exists, a court must view the record as a whole, taking

into account evidence favorable as well as unfavorable to the

Commissioner’s decision.              Chester v. Bowen, 792 F.2d 129, 131

(11th Cir. 1986); Short v. Apfel, 1999 U.S. Dist. Lexis 10163

(S.D. Ala. 1999).

       B.      Discussion

       An individual who applies for Social Security disability

benefits       or    supplemental     security          income    must    prove    their


       6
        This court’s review of the Commissioner’s application of legal
principles is plenary. Walker v. Bowen, 826 F.2d 996, 999 (11th Cir. 1987).


                                            6
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disability.        20 C.F.R. §§ 404.1512, 416.912.                   Disability is

defined as the “inability to do any substantial gainful activity

by reason of any medically determinable physical                           or   mental

impairment which can be expected to result in death or which has

lasted or can be expected to last for a continuous period of not

less than twelve months.”             42 U.S.C. § 423(d)(1)(A); 20 C.F.R.

§§ 404.1505(a),         416.905(a).         The Social Security regulations

provide       a    five-step      sequential        evaluation          process    for

determining if a claimant has proven his or her disability.                         20

C.F.R. §§ 404.1520, 416.920.7

      In the case sub judice, the ALJ applied the usual five-step

process      for   evaluating       disability       claims,      and    found    that


      7
        The claimant must first prove that he or she has not engaged in
substantial gainful activity. The second step requires the claimant to prove
that he or she has a severe impairment or combination of impairments. If, at
the third step, the claimant proves that the impairment or combination of
impairments meets or equals a listed impairment, then the claimant is
automatically found disabled regardless of age, education, or work
experience. If the claimant cannot prevail at the third step, he or she must
proceed to the fourth step where the claimant must prove inability to perform
their past relevant work. Jones v. Bowen, 810 F.2d 1001, 1005 (11th Cir.
1986). In evaluating whether the claimant has met this burden, the examiner
must consider the following four factors: 1) objective medical facts and
clinical findings; 2) diagnoses of examining physicians; 3) evidence of pain;
4) the claimant’s age, education and work history. Id. at 1005. Once a
claimant meets this burden, it becomes the Commissioner’s burden to prove at
the fifth step that the claimant is capable of engaging in another kind of
substantial gainful employment which exists in significant numbers in the
national economy, given the claimant’s residual functional capacity, age,
education, and work history. Sryock v. Heckler, 764 F.2d 834 (11th Cir.
1985). If the Commissioner can demonstrate that there are such jobs the
claimant can perform, the claimant must prove inability to perform those jobs
in order to be found disabled. Jones v. Apfel, 190 F.3d 1224, 1228 (11th
Cir. 1999). See also Hale v. Bowen, 831 F.2d 1007, 1011 (11th Cir. 1987)
(citing Francis v. Heckler, 749 F.2d 1562, 1564 (11th Cir. 1985)).


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Plaintiff has not engaged in substantial gainful activity since

her alleged onset of disability, and that she suffers from

diabetes mellitus and status post cellulitis versus lymphedema

following ductal carcinoma lumpectomy of the right breast.               (Tr.

26, Finding 5).      Then, the ALJ found that these impairments,

when considered individually, or in combination, do not meet or

equal the criteria listed in 20 C.F.R. Pt. 404, Subpt. P., App.

1.   (Id., Finding 7). Proceeding to the fourth step, the ALJ

determined that Plaintiff is capable of performing her past

relevant work as a car parts worker.          (Id. at 27, Finding 10).

     1.   Plaintiff’s treating physician

     Plaintiff argues that the ALJ erred in the weight afforded

the opinions of her treating physician, Dr. Safwan Jaalouk, M.D.

(“Dr. Jaalouk”).      Specifically, Plaintiff avers that the ALJ

relied upon medical evidence submitted by Dr. Jaalouk for a

period two (2) years prior to her alleged onset of disability as

opposed to Dr. Jaalouk’s treatment records of March 2002, which

indicate severe nonischemic cardiomyopathy, and include a fair

to poor prognosis.     Based upon a review of the record evidence,

the undersigned finds that the ALJ did not err in the weight

afforded Dr. Jaalouk’s opinions and findings.           Indeed, contrary

to   Plaintiff’s    assertions,     the   ALJ’s    findings    are      fully

supported by Dr. Jaalouk’s complete medical records.                    In no


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instance did Dr. Jaalouk note any functional limitations in

Plaintiff’s ability to work.                Rather, as noted by the ALJ, upon

examination of Plaintiff on March 14, 2002, mere days before Dr.

Jaalouk indicated that she had a “fair to poor prognosis” (Tr.

218),   he    noted     that    her       condition    was    being       treated   with

medications, and noted that she denied orthopnea, PND or leg

swelling.     (Id. at 219).          He also found that Plaintiff had clear

lungs, regular rate and rhythm, and no murmur or rub, no masses

or   edema.       (Id.)             Dr.    Jaalouk    noted        that    Plaintiff’s

hypertension was under control and he recommended that she

continue her medication and return for a follow-up visit on an

annual basis.     (Id. at 20, 218, 219).              Moreover, while mere days

later Dr. Jaalouk listed Plaintiff’s future prognosis as “fair

to poor,” he also noted that she had a “good response” to her

medication,      and     he     did       not     assign     her     any    functional

limitations.          (Id.     at    218).        Indeed,    the    only    functional

limitations of record are the findings of Dr. Roy Buchsbaum,

M.D. (“Dr. Buchsbaum”), who opined that Plaintiff should not use

her arms for repetitive motions against objects weighing more

than twenty (20) pounds.              (Id. at 275-276).            Accordingly, the

ALJ was correct in not assigning significant weight to Dr.

Jaalouk’s fair to poor prognosis in light of the objective

medical      evidence    of     record,          including    Dr.     Jaalouk’s     own


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treatment notes.      See, e.g., Crawford v. Comm’r of Soc. Sec.,

363 F.3d 1155, 1159-1160 (11th Cir. 2004); Phillips v Barnhart,

357 F.3d 1232, 1240-1241 (11th Cir. 2004) (stating that an ALJ

may properly discount the opinion of a treating physician if the

opinion is conclusory, inconsistent with his or her own medical

records, or if the evidence supports a contrary finding).

     2.    Plaintiff’s credibility

     Plaintiff      argues    that      the    ALJ    erred     by    improperly

discrediting her subjective symptoms.                According to Plaintiff,

the ALJ erred by failing to apply the three-part pain standard

required when analyzing a claimant’s subjective symptoms.                      With

respect to complaints of pain and other subjective symptoms, a

claimant    must    show:    1)    evidence     of   an   underlying        medical

condition;    and     2)    either     a)     objective    medical         evidence

confirming the severity of the alleged symptoms or b) that the

objectively   determined          medical    condition    can   reasonably        be

expected to give rise to the alleged symptoms.                         Wilson v.

Barnhart, 284 F.3d 1219, 1225 (11th Cir. 2002) (citing Holt v.

Sullivan, 921 F.2d 1221, 1223 (11th Cir. 1991)).                Social Security

Ruling 96-7p: Titles II and XVI: Evaluation of Symptoms in

Disability Claims: Assessing The Credibility of an Individual's

Statements,    1996    WL    374186    (S.S.A.),      requires       the    ALJ   to

determine whether the medically determinable impairment could


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reasonably give rise to the symptoms alleged.                In    Foote v.

Chater, 67 F.3d 1553, 1562 (11th Cir. 1995) (citations omitted),

the Eleventh Circuit explained:

       A clearly articulated credibility finding         with
       substantial supporting evidence in the record will not
       be disturbed by a reviewing court . . . . A lack of an
       explicit credibility finding becomes a ground for
       remand when credibility is critical to the outcome of
       the case . . . . While an adequate credibility finding
       need not cite “particular phrases or formulations . .
       . broad findings that [a claimant] lacked credibility
       and could return to her past work alone are not enough
       to enable us to conclude that [the ALJ] considered her
       medical condition as a whole.” . . . . If proof of
       disability is based upon subjective evidence and a
       credibility determination is, therefore, critical to
       the decision, “the ALJ must either explicitly
       discredit such testimony or the implication must be so
       clear as to amount to a specific credibility finding.”
       . . . . Explicit credibility findings are “necessary
       and crucial where subjective pain is an issue.”

See also Brown v. Sullivan, 921 F.2d 1233, 1236 (11th Cir. 1991).

Additionally, when making a credibility determination, the ALJ

may consider a claimant’s daily activities.          Macia v. Bowen, 829

F.2d   1009,   1012   (11th   Cir.   1987).    See   also   20    C.F.R.   §§

404.1529(c)(3)(i),       416.929(c)(3)(i)     (stating    that    “[f]actors

relevant to your symptoms, such as pain, which we will consider

include:    (i)   Your   daily   activities[]”).         Moreover,   “[t]he

credibility of witnesses is for the Secretary [Commissioner] to

determine, not the courts.”          Carnes v. Sullivan, 936 F.2d 1215,

1219 (11th Cir. 1991) (citing Kelly v. Heckler, 736 F.2d 631, 632



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(11th Cir. 1984)).

      Despite Plaintiff’s averment that “[t]here is no indication

whatsoever that the ALJ applied [the three-part pain] standard,”

the   undersigned     disagrees.      The   ALJ   determined    that      while

evidence of underlying medical conditions existed, the objective

medical evidence did not confirm the severity of the pain and

other symptomatology alleged by Plaintiff.               In the following

colloquy, the ALJ explained:

      [w]hile a portion of the claimant’s testimony did not
      directly relate to matters which were by themselves
      material to a specific finding of credibility,
      nonetheless certain aspects of the case . . . were
      central to the determination whether the claimant has
      had limitations which would have likely precluded the
      ability to conduct all substantial gainful activity,
      or would have led to the same conclusion in view of
      relevant medical-vocational factors.

(Tr. 18).     The ALJ further explained that:

      [d]uring the hearing, I was observant of the
      claimant’s demeanor, candor, and consistency of
      allegations as well as description of activities. I
      also closely reviewed all the exhibits before me and
      was aware of the frequency, scope, and type of medical
      treatment and findings involved.        All of these
      considerations were taken into account in finding that
      there was a lack of credibility necessary to establish
      disability for this individual claimant.

(Id.)    The ALJ observed that treatment notes from Dr. John R.

Russell,     M.D.,   (“Dr.   Russell”),     indicated    that   Plaintiff’s

cancer did not reoccur and she was repeatedly described as doing

well during routine follow-up exams.           (Id. at 24).     (See id. at


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146, 148, 150-153, 156, 160, 163, 168, 176-177, 179, 181, 183,

190).      Similarly, although treating physician Dr. Pamela Gibbs,

M.D., (“Dr. Gibbs”), noted during various prior visits that

Plaintiff’s diabetes was not well controlled, during her final

visit on February 12, 2002, her prescriptions were refilled and

no problems were noted.            (Id. at 192-216).

      Additionally, the ALJ observed that although Plaintiff was

diagnosed with lymphedema, upon examination on January 25, 2002,

Dr. Buchsbaum indicated that her lymphedema was “relatively

subtle,” and encouraged her to simply use her left arm or apply

for a position that required less weight on her right arm.                        (Id.

at 24).      (See also Tr. 143-144).            Dr. Buchsbaum further reported

that “there [was] no physical exam findings that would suggest

thrombophlebitis.          Her edema is fairly mild and her tenderness

is quite generalized.”8            (Id. at 144).        The ALJ also noted that

Dr. Buchsbaum’s August 27, 2002 report, which was submitted by

Plaintiff during the hearing conducted on November 12, 2002 and

which      Plaintiff     testified      that    she    agreed     with, 9    contained

      8
        Inflammation and clotting in veins. The Merck Manual - Second Home
Edition, Sec. 3, Ch. 36, http://www.merckhomeedition.com/home.html.

      9
        Specifically, when question by the ALJ regarding Dr. Buchsbaum’s
report, Plaintiff responded as follows:

      Q       Your doctor here said avoidance of repetitive arm motion
              against resistance of more than 20 pounds.
      A.      I don’t –
      Q.      Does that sound correct?


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similar findings.         (Id. at 24, 275-276, 296-297, 304).                In the

August 27, 2002 report, in addition to recommending four weeks

of   comprehensive        physiotherapy,        Dr.    Buchsbaum        opined   that

Plaintiff should avoid “repetitive arm motion against resistance

of more than twenty pounds[.]”              (Id. at 275).        (See also id. at

192).      Similarly, as noted supra, although Dr. Jaalouk diagnosed

Plaintiff with nonischemic cardiomyopathy and obesity, upon

final examination on March 14, 2002, he noted that her condition

was being treated with medication, that she denied orthopnea,

PND or leg swelling, that she had no masses or any edema and

that her hypertension was under control; and he recommended that

she continue her medication and return for a follow-up visit on

an annual basis.          (Id. at 219).          Aside from the limitations

noted by Dr. Buchsbaum, no other physician noted any functional

limitations on Plaintiff’s ability to work, and none indicated

that she had pain present to such an extent to be distracting or

disabling.

      In addition to the medical evidence of record, the ALJ also

relied upon Plaintiff’s reported daily activities.                        (Tr. 23).




      A.     Yes.
      Q.     And that’s what you’re expected to do avoid lifting more
             than 20 pounds?
      A.     Yes.

(Tr. 304).


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Specifically, Plaintiff reported that she is generally able to

care     for     her    personal       needs   without     assistance,        watch

television, read, sit on the porch, walk, ride the bus, go to

church,       visit    family    and    friends    once   or   twice    a     month,

occasionally go to cookouts with family, talk to friend on the

telephone daily, make her bed twice a week, do laundry once a

week and sweep her house once a week. (Id. at 78-92, 248).

Additionally, Plaintiff testified that her daily                       activities

include preparing breakfast, walking outside around the house

and attempting to sweep a little with her left arm.                         (Id. at

302-303).            Moreover,     notwithstanding        Plaintiff’s        alleged

disabling pain, she testified that she was not taking prescribed

medication for her alleged arm impairment.                (Id. at 299).        Based

on     the    foregoing,    the     undersigned      finds     that    the    ALJ’s

determination, that Plaintiff’s allegations regarding pain were

not fully credible, is supported by substantial evidence.

       3.      Plaintiff’s past relevant work

       Plaintiff also argues that the ALJ erred by failing to make

findings regarding the physical demands of her past work, and

her ability to perform the associated duties in light of her

impairments.          To that end, Plaintiff avers the ALJ reached his

decision regarding her ability to perform her past relevant work

by rejecting both the opinions of Drs. Jaalouk and Buchsbaum as

well     as    her     testimony       regarding   her    limitations.          The
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undersigned, however, disagrees.

      Although Plaintiff bears the burden of demonstrating the

inability to return to her past relevant work, the Commissioner

has an obligation to develop a full and fair record.                       Schnorr v.

Bowen, 816 F.2d 578, 581 (11th Cir. 1987).                        Social Security

Ruling 82-61 recognizes three possible tests for determining

whether a claimant retains the capacity to perform his or her

past relevant work:

      1. Whether the claimant retains the capacity to
      perform a past relevant job based on a broad generic,
      occupational classification of that job, e.g.,
      "delivery job," "packaging job," etc.
                               ...
      2. Whether the claimant retains the capacity to
      perform the particular functional demands and job
      duties peculiar to an individual job as he or she
      actually performed it.
                               ...
      3. Whether the claimant retains the capacity to
      perform the functional demands and job duties of the
      job as ordinarily required by employers throughout the
      national economy.

Social Security Ruling 82-61: Titles II and XVI: Past Relevant

Work--the      Particular       Job    or     the    Occupation       as       Generally

Performed 1982 WL 31287 (S.S.A.).10                 An individual will be found



      10
        As recognized in the ruling, use of this test is likely to be
"fallacious and insupportable" because "[w]hile 'delivery jobs,' 'packaging
jobs,' etc., may have a common characteristic, they often involve quite
different functional demands and duties requiring varying abilities and job
knowledge." Id. Additionally, the Dictionary of Occupational Titles'
descriptions can be relied upon to define the job as it is usually performed
in the national economy. Id.


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“not disabled” when it is determined he or she retains the

residual functional capacity to perform the actual functional

demands and job duties of a particular past relevant job, or the

functional     demands     and    job    duties    of    the   past    relevant

occupation as generally required by employers throughout the

national economy.        Id.     See also Social Security Ruling 82-62:

Titles II and XVI: A Disability Claimant's Capacity to Do Past

Relevant Work, In General, 1982 WL 31386 (S.S.A.).                   See also 20

C.F.R. § 404.1545.

      The ALJ has a duty to develop the record and establish the

exertional and nonexertional requirements of the claimant’s past

relevant work, either as the claimant actually performed the

work or as the work is performed in the national economy.                    Lucas

v. Sullivan, 918 F.2d 1567, 1574 (11th Cir. 1990); Schnorr, 816

F.2d at 581 (finding that the Secretary is obligated to fully

develop the record regarding the duties and responsibilities of

claimant's     past   relevant      work).        The   ALJ    may    meet    this

obligation     by   inquiring      of   the   claimant    as   to    duties    and

responsibilities at the hearing and/or by review of that part of

the   record    which     includes       claimant’s      statements     of     job

responsibilities, both exertional and non-exertional, for the

claimant’s past relevant work.            Id.     The ALJ must consider the

duties and requirements of the past work, make findings with


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regard to same in the decision, and then, based upon those

findings, compare the claimant’s residual functional capacity to

the job description.       Id.

      As noted supra, the ALJ determined that the medical evidence

revealed    that    Plaintiff     suffers     from   diabetes    mellitus     and

status    post     cellulitis     versus      lymphedema   following    ductal

carcinoma     lumpectomy    of    the    right   breast,   and   that   she    is

capable of performing her past relevant work as a car parts

worker.     (Tr. 15-27).         While Plaintiff argues that the ALJ

failed to consider the job duties of her past relevant work and

her ability to perform same, the undersigned finds that the

record indicates otherwise.             Indeed, in reaching his decision,

the ALJ explained:

      The undersigned notes that Exhibit 1E, page 3, was
      completed by the claimant at the time of the filing of
      her applications. This exhibit sets forth in detail
      a description of the claimant’s past work as a car
      parts worker. Further, the claimant completed a work
      history report, Exhibit 4E, pages 2 and 3, which
      revealed that that job did not require greater than
      light work.

(Tr. 25).        The ALJ continued, stating that “[i]n carefully

comparing the claimant’s residual functional capacity as stated

herein with her own description of the job of car parts worker,

it is concluded that the demands of the claimant’s past job of

car   parts    worker    did     not    exceed   her   residual    functional

capacity.”       (Id.)   Specifically, Plaintiff described her job as

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requiring:      assembly     of   parts;     use     of    machines,    tools     or

equipment; no technical knowledge or skills; no writing or

completing reports, except to track production; no supervision

of other people; walking two (2) hours; standing five (5) hours;

sitting forty (40) minutes; climbing one (1) hour; handling,

grabbing or grasping big objects eight (8) hours; bending her

legs; and lifting a maximum of twenty (20) pounds.                     (Id. at 56,

70-71).       As noted    supra, the only functional limitation of

record is the finding of Dr. Buchsbaum, in which he opined that

Plaintiff should not use her arms for repetitive motions against

objects weighing more than twenty (20) pounds.                     (Id. at 275-

276).       Given   the   limitation       imposed    by   Dr.   Buchsbaum,      and

Plaintiff’s description of the car parts worker position, the

ALJ was correct in concluding that she is capable of performing

her    past   relevant     work   as   a    car    parts    worker.       This   is

particularly true as the record is totally devoid of any medical

evidence which suggests that Plaintiff is unable to perform the

car parts worker position, as described by her.

       4.     New Evidence

       As noted supra, in connection with her petition, Plaintiff

filed a motion seeking to have this case remanded pursuant to

sentence six of § 205(g) and § 1631(c)(3) of the Social Security

Act.    (Doc. 4).    In her motion, Plaintiff argues that the March


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11, 200411 opinions of Dr. John R. Russell, M.D. (“Dr. Russell”)

in a Physical Capabilities Evaluation and Clinical Assessment of

Pain form, constitute new, non-cumulative material evidence

which warrants this matter being remanded to the Commissioner of

Social Security for consideration.                      Specifically, Plaintiff

avers that the evidence is new and non-cumulative because the

forms      were    completed       after        the    Appeals    Council        denied

Plaintiff’s request for review on February 21, 2004; thus, the

forms are not a part of the administrative record, and no

similar evidence was introduced in the administrative record.

Additionally,       Plaintiff       argues      that    there    is   a   reasonable

possibility that the evidence would change the administrative

result, as it contradicts the findings of the Administrative Law

Judge regarding the severity of Plaintiff’s problems and the

extent of her limitations.              Plaintiff further argues that good

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        In the Physical Capabilities Evaluation form, Dr. Russell opined that
in an eight (8) hour day Plaintiff can: sit two (2) hours at any one time, and
a maximum of two (2) hours; stand/walk thirty (30) minutes at any one time,
and a maximum of thirty (30) minutes; lift/carry a maximum of ten (10) pounds
occasionally, and up to five (5) pounds frequently on a regular and sustained
basis; use her hands for repetitive action such as simple grasping and fine
manipulation, but not for pushing/pulling; use feet for repetitive movements;
occasionally bend and reach, but never squat, climb or crawl. (Doc. 4 at Ex.
1). Dr. Russell further opined that Plaintiff needs to rest or lie down, and
elevate her legs above her heart, several times a day. (Id.) In the Clinical
Assessment of Pain form, Dr. Russell concluded that Plaintiff’s “[p]ain is
present to such an extent as to be distracting to adequate performance of
daily activities or work”, and greatly increased by physical activity “to such
a degree as to cause distraction from task or total abandonment of task.”
(Id.) Additionally, Dr. Russell opined that the impact of any side effects
from Plaintiff’s prescribed medication would not be to such a degree as to
create serious problems in her ability to perform work activity. (Id.)


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cause exists for her failure to present the evidence because it

did not exist at the time of the administrative proceedings and

was not requested and/or obtained until after she retained her

current attorney, which was subsequent to the AC’s denial of her

request for review.

     A sentence six remand may be ordered in only two situations:

where the Commissioner “requests a remand before answering the

complaint, or where new, material evidence is adduced that was

for good cause not presented before the agency.”               Shalala v.

Schaefer, 509 U.S. 292, 292, n.2 (1993) (citations omitted).             In

Falge v. Apfel, 150 F.3d 1320, 1323 (11th Cir. 1998), cert. den.,

52 U.S. 1124 (1999), the Eleventh Circuit held that to warrant

remand   for   consideration    of   new   evidence,    a   claimant   must

establish that: 1) new, non-cumulative evidence exists, 2) the

evidence is material, that is, relevant and probative so that a

reasonable     possibility     exists     that   it   would   change    the

administrative result; and 3) good cause exists for failure to

incorporate the evidence into the record in the proceedings

before the ALJ.    See also Vega v. Comm’r of Soc. Sec., 265 F.3d

1214, 1218 (11th Cir. 2001); Sullivan v. Apfel, 2000 WL 1568330,

*8 (S.D. Ala. Oct. 2, 2000).            The undersigned finds that the

Physical Capabilities Evaluation and Clinical Assessment of Pain

forms (Doc. 4) completed by Dr. Russell in March 2004 are


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neither material nor probative, and moreover, they do not create

a reasonable possibility that the administrative outcome would

be changed.    Although Dr. Russell reports significant functional

limitations and restrictions, the undersigned notes that there

is nothing in the forms that indicate that they relate to the

time period for which benefits were denied.                      In other words,

while the forms arguably evidence deterioration of Plaintiff’s

health, they do not provide any probative information regarding

her medical condition as it existed during the time period for

which benefits were denied.            Indeed, while the record reflects

that   Dr.   Russell    treated   Plaintiff         for    a    number   of   years,

commencing January 1995, the administrative record reflects that

December 2001 was the last time she was seen by Dr. Russell.

(Tr.   145-191).        During    the    December         2001    examination       of

Plaintiff,    Dr.   Russell      did    not    note       any    restrictions      or

limitations with respect to Plaintiff’s ability to work, and

Plaintiff actually reported that she “has had no problems with

her right upper extremity.”             (Id. at 146-147).           Additionally,

upon physical examination of Plaintiff’s right upper extremity,

Dr. Russell concluded that she demonstrated no hand or finger

edema; good wrist mobility; pronation and supination within

normal limits; no decreased range of motion in flexion and

extension    of   the   forearm   about       the   elbow;       fullness     of   the


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proximal    and    cubital   region;         no   erythema     or    increased

temperature    sensation;    no   palpable        adenopathy   in    the   right

brachium, right axilla or right supraclavicular area; and no

tenderness in the bursa of her right shoulder.                  (Id. at 146).

Although Dr. Russell indicated edema in the area, he concluded

that Plaintiff’s tenderness was less than previously noted and

suggested that she see a lymphedema specialist and undergo

instruction in the use of a stocking as well as in a wrap

technique   and    chest   and    arm     massage.      (Id.    at   145-147).

Furthermore,      Dr.   Russell’s   treatment        notes     indicate     that

Plaintiff’s cancer did not reoccur after treatment in 1995, and

she was repeatedly described as doing well during her routine

follow-up examinations.      (Id. at 143-191).

    Based on the forgoing, the undersigned finds the Physical

Capabilities Evaluation and Clinical Assessment of Pain forms

completed by Dr. Russell on March 11, 2004 are not material and

that a reasonable possibility does not exist that this evidence

would have changed the ALJ’s decision since the forms did not

relate to the time period in question.                Moreover, it is well

established that a remand will not be granted under § 405(g) if

the new evidence only shows a “subsequent deterioration of the

previously nondisabling condition.”                Szubak v. Secretary of

Health & Human Servs., 745 F.2d 831, 833 (3rd Cir. 1984).                  Accord


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Jones v. Callahan, 122 F.3d 1148, 1154 (8th Cir. 1997); Bradley

v. Bowen, 809 F.2d 1054, 1058 (5th Cir. 1987).             Based on the

foregoing, the undersigned finds that the Physical Capabilities

Evaluation and Clinical Assessment of Pain forms completed by

Dr. Russell in March 2004 are not material; thus, Plaintiff’s

motion seeking a sentence six remand should be DENIED.

V.   Conclusion

     For the reasons set forth, and upon careful consideration

of the administrative record and memoranda of the parties, it is

recommended that the decision of the Commissioner of Social

Security denying Plaintiff’s claim for disability insurance

benefits and supplemental security income benefits be AFFIRMED.

It is further recommended that Plaintiff’s motion for a sentence

six remand be DENIED.

     The attached sheet contains important information regarding

objections to this report and recommendation.

     DONE this 22nd day of November, 2005.

                                     /s/ SONJA F. BIVINS
                                    UNITED STATES MAGISTRATE JUDGE




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        MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
           AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
            AND FINDINGS CONCERNING NEED FOR TRANSCRIPT

     1.   Objection.     Any   party   who   objects   to   this
recommendation or anything in it must, within ten days of the
date of service of this document, file specific written
objections with the clerk of court. Failure to do so will bar
a de novo determination by the district judge of anything in the
recommendation and will bar an attack, on appeal, of the factual
findings of the magistrate judge. See 28 U.S.C. § 636(b)(1)(c);
Lewis v. Smith, 855 F.2d 736, 738 (11th Cir. 1988).          The
procedure for challenging the findings and recommendations of
the magistrate judge is set out in more detail in SD ALA LR 72.4
(June 1, 1997), which provides, in part, that:

         A party may object to a recommendation entered by
    a magistrate judge in a dispositive matter, that is,
    a matter excepted by 28 U.S.C. § 636(b)(1)(A), by
    filing a “Statement of Objection to Magistrate Judge’s
    Recommendation” within ten days after being served
    with a copy of the recommendation, unless a different
    time is established by order.       The statement of
    objection shall specify those portions of the
    recommendation to which objection is made and the
    basis for the objection.    The objecting party shall
    submit to the district judge, at the time of filing
    the objection, a brief setting forth the party’s
    arguments that the magistrate judge’s recommendation
    should be reviewed de novo and a different disposition
    made. It is insufficient to submit only a copy of the
    original brief submitted to the magistrate judge,
    although a copy of the original brief may be submitted
    or referred to and incorporated into the brief in
    support of the objection. Failure to submit a brief
    in support of the objection may be deemed an
    abandonment of the objection.

     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or judgment
can be appealed.

     2.   Opposing party’s response to the objection.       Any
opposing party may submit a brief opposing the objection within
ten (10) days of being served with a copy of the statement of
objection. Fed. R. Civ. P. 72; SD ALA LR 72.4(b).
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     3.   Transcript   (applicable   where   proceedings    tape
recorded). Pursuant to 28 U.S.C. § 1915 and Fed.R.Civ.P. 72(b),
the magistrate judge finds that the tapes and original records
in this action are adequate for purposes of review. Any party
planning to object to this recommendation, but unable to pay the
fee for a transcript, is advised that a judicial determination
that transcription is necessary is required before the United
States will pay the cost of the transcript.


                                        /s/ SONJA F. BIVINS
                                       UNITED STATES MAGISTRATE JUDGE
